IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA

BRO. T. HESED-EL, )
)
Plaintiff, ) Civil Action No. CV 119-285
v. ) : FILED
) ASWENILLE, N.C.
JOHN DOE, et al., oct > 2020
Defendants. ) T COURT
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vee DIST. OF N.C.

NOTICE OF VOLUNTARY DISMISSAL

Question 2. Who is ALLAH? ALLAH is the Father of the Universe.
101 Questions for Moorish Americans

Pursuant to Federal Rule of Civil Procedure Rule 41(a}(1), Plaintiff hereby gives notice
that Defendants John Doe, Robin Bryson, Mission Hospital, and Hospital Does 1-10, inclusive of

all claims against those named parties, are hereby dismissed WITHOUT PREJUDICE.

This action shall proceed upon Plaintiffs claims against Defendants Buncombe County
and proposed claims against putative defendants former Sheriff Van Duncan, Sheriff Miller, and

Western Surety Company. All others are entirely dismissed from this action without prejudice.
No person has answered Plaintiff's complaint or filed a summary judgment.

CITATIONS OF AUTHORITY
“Rule 41(a)(1)G) grants a plaintiff the absolute right to voluntarily dismiss its complaint
before the adverse party answers” In re Matthews, 395 F.3d 477, 482 (4th Cir. 2005). “[A]
voluntary dismissal under Rule 41(a}(1)(i) is available as a matter of unconditional right and is
self-executing, i.c., it is effective at the moment the notice is filed with the clerk and no judicial
approval is required, As such, a dismissal without prejudice operates to leave the parties as if no

action had been brought at all. [Plaintiff] can renew [his] position, where appropriate, should

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another action be filed". Novosel v. White, 1:19CV365, 5 (M.D.N.C. Dec. 6, 2019) (internal
quotation marks and citations omitted). “[I]t is clear the Fourth Circuit has tacitly approved of the
use of [Rule 41(a)] as a vehicle to dismiss discrete claims and parties from actions as well as
actions in their entirety.” Bridgetree, Inc. v. Red F Marketing LLC, Civil Action No.: 3:10-cv-228-
FDW-DSC, 3 (W.D.N.C. Sep. 16, 2011).

“If an action commenced within the time prescribed therefor, or any claim therein, is
dismissed without prejudice under this subsection, a new action based on the same claim may be

commenced within one year after such dismissal” N.C. Gen, Stat. § la-1, Rule 41.

CONCLUSION

John Doe, Robin Bryson, Mission Hospital, and Hospital Does 1-10, and any claims against

them, are hereby voluntarily dismissed from this action WITHOUT PREJUDICE.

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Executed this day of Rabi Al-Awwal, 1442 AH...
cS, A

Plainutf pro se Bro. T. Hesed-El
c/o TAQI EL AGABEY MGMT
30 N. Gould Street, Suite R
Sheridan, WY 82801

Ph: (762) 333-2075

teamwork} @ gmail.com

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CERTIFICATE OF SERVICE

The undersigned certifies that Defendant Buncombe County has ~sr=thresdey been

electronically served with Plaintiff's Notice of Voluntary Dismissal, via an attachment to an email.

County of Buncombe
c/o Attorney Curtis W. Euler
200 College Street, Suite 100
Asheville, NC 28801
Phone: (828) 250-4177
Fax: (828) 250-6040
curt.euler@buncombecounty.org

Robin Bryson and Mission Hospital, Inc.
c/o Attorney Richard S, Daniels
Patla, Straus, Robinson & Moore, P.A.
Post Office Box 7625
Asheville, North Carolina 28801
Telephone: (828) 255 7641
Facsimile: (828) 258 258-9222

rsd @psrmlaw.com

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This 20 day of October, 2020 A.D.

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NATURAL PEOPLE LAW

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